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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

FEDERAL TRADE COMMISSION,                               Case No.: 1:20-cv-03590 (JEB)

                         Plaintiff,                     HON. JAMES E. BOASBERG

v.                                                      DECLARATION OF KIMBERLY
                                                        BAUMGARTEN IN SUPPORT OF
META PLATFORMS, INC.,                                   MOTION TO QUASH TRIAL
                                                        SUBPOENA FILED ON BEHALF OF
                         Defendant.                     NON-PARTY WITNESS
                                                        FORMERLY EMPLOYED BY EPIC
                                                        GAMES




            I, KIMBERLY BAUMGARTEN, declare as follows:

            1.    I am a former employee of Epic Games, Inc. (“Epic Games”), a third-party in the

above-captioned action. I have personal knowledge of the facts set forth in this declaration, and,

if called as a witness, I could and would testify competently to these facts under oath.

            2.    I am the subject of a trial subpoena in the above-captioned case, which was served

on me through my attorney on March 6, 2025 by counsel for Meta Platforms, Inc. (“Meta”).

            3.    The trial subpoena requires my in-person attendance before this Court to testify at

the trial. I have been informed that my trial testimony is expected to last 30 minutes and will

concern “the competitive landscape” that is presumably relevant to this case. Counsel for Meta

have projected that I will be called to testify on May 22, 2025, but they have requested that I block

off my availability for the entire week starting on May 19, 2025 to be available to testify.

            4.    I was previously deposed in this case on April 14, 2023. During my videotaped

deposition, counsel for both the Federal Trade Commission and Meta appeared remotely by

videoconference to question me and had the opportunity to spend an entire day deposing me. Both

parties concluded their questioning of me within approximately four hours. During these four

hours, I was questioned extensively about the “competitive landscape” that may be at issue in this

trial. Specifically, I was questioned about an app that Epic Games acquired in June 2019 called




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“Houseparty.” Epic Games shut down Houseparty in September 2021, approximately 19 months

prior to my videotaped deposition. I cannot think of any additional testimony I could offer about

the Houseparty app or any other subject relating to the “competitive landscape” that may be at

issue in this trial that I did not testify about previously in my videotaped deposition.

            5.   Requiring me to provide in-person testimony in this case and to invest the time

needed to testify at all would pose a substantial hardship to me and my family.

            6.   I reside in Los Angeles, California, which is approximately 2,700 miles away from

the courthouse where the trial will be taking place.

            7.   I am the mother and primary caregiver for two young children—an 18-month-old

baby and a four-year-old-child—and my days are primarily centered on attending to the needs of

my children. In addition, I provide nearly daily assistance to my parents, who are both in their 80s

and who lost their home of 40 years in the Palisades Fire two months ago. As a result of this

family tragedy, I am currently an even more integral part of my parents’ lives than usual, as I am

helping them try to piece their lives back together after the fire which devastated their community.

            8.   The travel between Washington, D.C. and Los Angeles that I would need to

undertake to testify in this case would likely consume an entire day each way. When combined

with the day I would be required to be in court to testify, this means I would be away from home

for at least three days in order to provide an estimated 30 minutes of testimony in this matter. This

long of an absence from home would create a significant hardship for me and my family given the

many different ways members of my family rely on me.

            9.   I am no longer an employee of Epic Games. In addition to my commitments to my

family, I currently work part-time as a consultant. The travel required to attend the trial




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would also create a hardship in my professional life, in addition to my family life.
       I declare under penalty of perjury of the laws of the United States of America that the
foregoing is true and com:ct Executed on this 26th day of March. in Los Angclcs, California.




                                                  Kimberly Baumgarten




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